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                             IN THE UNITED STATES
                            DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

SBI CRYPTO CO., LTD.,

      Plaintiff,

              v.                             Civil Action No.: 6:23-cv-252-ADA-DTG

WHINSTONE US, INC.,

      Defendant.                             Jury Trial Demanded


                     FIFTH AMENDED SCHEDULING ORDER

          Before the Court is the parties’ Joint Motion to Amend Scheduling Order

Deadlines (ECF No. 84). Having considered the motion, the Court finds that the motion

should be GRANTED. The Court therefore ORDERS that the following schedule will

govern deadlines up to and including the trial of this matter:


      Date                                          Event
    7/11/25        Fact Discovery Deadline. Fact discovery must be completed by this
                   date.
                   Notwithstanding the forgoing, the deadline to propound written
                   discovery, including Requests for Production, Requests for Admissions,
                   and Interrogatories, expired as of March 12, 2025. Nothing in this Fifth
                   Amended Scheduling Order shall be construed as allowing for any
                   additional written discovery requests.1
   3/28/253        Parties with burden of proof to designate Expert Witnesses and provide
                   their expert witness reports, to include all information required by Rule
                   26(a)(2)(B).

    7/18/25        Parties shall designate Rebuttal Expert Witnesses on issues for which
                   the parties do not bear the burden of proof, and provide their expert
                   witness reports, to include all information required by Rule 26(a)(2)(B).
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  Date                                    Event
9/12/25    Expert Discovery Deadline. Expert discovery must be completed by
           this date.

           Any objection to the reliability of an expert’s proposed testimony under
           Federal Rule of Evidence 702 shall be made by motion, specifically
           stating the basis for the objection and identifying the objectionable
           testimony, not later than 14 days of receipt of the written report of the
           expert’s proposed testimony or not later than 14 days of the expert’s
           deposition, if a deposition is taken, whichever is later. The failure to
           strictly comply with this paragraph will be deemed a waiver
           of any objection that could have been made pursuant to
           Federal Rule of Evidence 702.

10/27/25   All dispositive motions shall be filed and served on all other parties on
           or before this date and shall be limited to 25 pages. Responses shall be
           filed and served on all other parties not later than 14 days after the
           service of the motion and shall be limited to 20 pages. Any replies shall
           be filed and served on all other parties not later than 7 days after the
           service of the response and shall be limited to 10 pages, but the Court
           need not wait for the reply before ruling on the motion.

           Deadline for parties desiring to consent to trial before the magistrate
           judge to submit Form AO 85, “Notice, Consent, And Reference Of A
           Civil Action To A Magistrate Judge,” available at
           https://www.uscourts.gov/forms/civil-forms/notice-consent-and-
           reference-civil-action-magistrate-judge.
12/1/25    By this date the parties shall meet and confer to determine pre-trial
           deadlines, including, inter alia, exchange of exhibit lists, designations of
           and objections to deposition testimony, and exchange of
           demonstratives.

12/8/25    By this date the parties shall exchange a proposed jury charge and
           questions for the jury. By this date the parties will also exchange draft
           Motions in Limine to determine which may be agreed.

12/15/25   By this date the parties shall exchange any objections to the proposed
           jury charge, with supporting explanation and citation of controlling law.
           By this date the parties shall also submit to the Court their Motions in
           Limine.

1/12/26    By this date the parties will submit to the Court their Joint Pre-Trial
           Order, including the identification of issues to be tried, identification of
           witnesses, trial schedule provisions, and all other pertinent information.
           By this date the parties will also submit to the Court their oppositions to
           Motions in Limine.




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1/23/26     Final Pre-Trial Conference. The parties shall provide to the Court an
            agreed jury charge with supported objections of each party, and
            proposed questions for the jury, at the final Pre-Trial Conference.

  Date                                       Event
1/29/26     The Court will attempt to schedule Jury Selection on a day during the
            week of January 26, 2026. Otherwise, Jury Selection shall begin at
            9:00 a.m. on February 2, 2026.

2/9/26      Jury Trial Commences.


SIGNED this 19th day of May, 2025.




                         DEREK T. GILLILAND
                         UNITED STATES MAGISTRATE JUDGE




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